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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
GREGORY GREENE, individually and on
behalf of all others similarly situated,
Plaintiff,
No. 1:14-cv-01437
v.
Hon. Gary Feinerman
MARK KARPELES, an individual,
Magistrate Judge Susan Cox
Defendant.

 

 

TO: ANY CONSUL OR VICE CONSUL OF THE UNITED STATES
ASSIGNED TO TOKYO, JAPAN

It is ordered that the deposition on notice of the following witness be taken at the United
States Embassy in Tokyo, Japan:

Mark Karpeles

Ogata Law Office

Sanshi Kaikan 7F

9-4 Yurakucho 1-Chome

100-0006 Chiyoda-ku

Tokyo, Japan
The deposition will commence on or about November 5, 2019 at 8:45 a.m. Tokyo time and will
terminate on or about November 5, 2019 at 4:00 p.m. Tokyo time. Any documentary exhibits
used in the deposition shall be marked in connection therewith.

Counsel for Plaintiff who will participate in said deposition are Rafey S. Balabanian,
Benjamin S. Thomassen, and J. Aaron Lawson. Counsel for Defendant who will participate in
said deposition are Bevin Brennan and Albert A. Ciardi III. The proceedings will be reported by
Lisa Barrett. Please cause the testimony of said witness to be reduced to writing and the

deposition signed by said witness and annex said deposition testimony to your commission and

close the same under your seal and make return thereof to this Court with all convenient speed.
Case: 1:14-cv-01437 Document #: 436 Filed: 09/17/19 Page 2 of 2 PagelD #:6906

IT IS SO ORDERED

DATED: 4-17-20 (4

HON. GARY FEINERMAN

UNITED STATES DISTRICT JUDGE
NORTHERN DISTRICT OF ILLINOIS co

 

[Insert Seal of the United States: District Court for ,
the Northern District of Illinois]
